                      Case 4:13-cr-00171-WTM-CLR Document 67 Filed 07/09/15 Page 1 of 1
A0247(10111) Order Regarding Motion for Sentence Reduction Pursuant to 18 U. S.C. § 3582(c)(2)                               Page 1 of (Page 2 Not for Public Disclosure)



                                                                UNITED STATES DISTRICT COURT
                                                                                                                             U.S
                                                                            for the
                                            Southern District of Georgia - Savannah Division
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                        United States of America                                                                                              -

                                         V.                                              )


                                                                                             Case No: 4:13CR0017If LeRK_
                           Mary Kathryn Riggins
                                                                                         )   USMNo: 18520 -021
Date of Original Judgment:         March 19, 2014                                        )   Lynne M. Fleming
Date of Previous Amended Judgment: Not Applicable                                            Defendant ' s Attorney
(Use Daze of Last Amended Judgment, if any)


                                          Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


        Upon motion of Fj the defendant           the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § I Ri .10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
FXJ D EN I E D.Fj GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last judgment
                  issued) of   months is reduced to


                                                     (Complete Paris I and II of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated                          March 19. 2014,        shall remain in effect.

IT IS SO ORDERED.

Order Date:                                                                                  _______________________________
                                                                                                                Judge s signadFe


                                                                                             William T. Moore, Jr.
                                                                                             Judge, U.S. District Court
Effective Date: November 1, 2015                                                             Southern District of Georgia
                 (if djJerene front order date)                                                               Printed name and title
